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                        THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                  CASE NO.: 22-52870-jwc

 MARK AARON RICH,                                        CHAPTER 7

          Debtor.                                        JUDGE JEFFERY W. CAVENDER


 VSP Atlanta LLC,                                        CONTESTED MATTER
       Movant,

 vs.

 MARK AARON RICH,
     Debtor,

 S. GREGORY HAYS,
       Trustee,
       Respondents.

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

        COMES NOW, VSP Atlanta LLC, (“Movant”) and hereby moves this Court for relief

from the automatic stay pursuant to 11 U.S.C. § 362(d), with respect to certain real property. In

support thereof, Movant shows as follows:

        Mark Aaron Rich (“Debtor”) having filed a voluntary petition pursuant to 11 U.S.C. § 701,

et seq., is subject to the jurisdiction of this Court.

                                                    2.

        This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362.
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                                                  3.

       Movant is the landlord of certain real property located at 1030 Millridge Ln SE, Marietta,

GA 30067 (“Property”), currently leased to Debtor pursuant to a rent under a residential lease

agreement entered into on or about September 10, 2021 (“Lease”), for a term beginning on

September 17, 2021 and ending on September 16, 2022, with a rental rate of $3,450.00 per month

(“Rent”). In the event Rent is not received by the fifth (5th) day of each month, a late fee of

$345.00 (“Late Fee”) is incurred.

                                                  4.

       The Property is listed as Debtor’s address in the Petition [Doc. 1, p. 2].

                                                  5.

       Movant     seeks   relief    in   order   to    continue   with   dispossessory   proceedings

(“Dispossessory”), previously filed in Cobb County, Georgia, to dispossess Debtor along with any

other occupants from the Property for failure to pay rent under the Lease. During the dispossessory

hearing on April 14, 2022, both the court and Movant were made aware of Debtor’s voluntary

petition. The case was immediately stayed.

                                                  6.

       Debtor defaulted under the terms of the Lease by failing to pay Rent, Late Fees, and other

applicable charges under the Lease as required for February 2022 through the date of the instant

motion. As of the date of the instant motion, Debtor owes a total of $11,685.00. Debtor continues

to accrue arrearages of Rent, Late Fees, and other applicable charges.

                                                  7.

       Movant is unable to continue with the Dispossessory and exercise its state law remedies
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due to the automatic stay and has incurred costly attorney fees as a result of Debtor’s actions and

filings.

                                                     8.

           Because Debtor has demonstrated a continuing default and a clear inability to make

payments required under the Lease and has not submitted any documentation to the contrary

under the provisions of the bankruptcy code, Movant is not adequately protected. For the

foregoing reasons, Movant asserts that cause exists sufficient to waive the requirements of

Bankruptcy Rule 4001(a)(3).

                                                   10.

           Because there is no equitable or legal interest in the Property which could benefit the Estate

and such property is not part of the Estate, the Trustee’s interest should be deemed abandoned, the

Lease rejected, and the stay should be lifted with regard to Movant to allow it to continue with the

Dispossessory to dispossess Debtor along with Debtor’s personal property and, to the extent

permitted by law, obtain a monetary judgment against Debtor for unpaid post-petition Rent while

Debtor remains in possession of the Property.

                                                   11.

           Because the Lease provides that Debtor is responsible for Movant’s attorney's fees in

pursuing legal action, Movant is entitled to reasonable attorney's fees from Debtor.

           WHEREFORE, Movant prays for the following relief:

           (A)    An Order granting Movant relief from the automatic stay entered under 11 U.S.C.

                  § 362 for all purposes allowed by applicable law, including but not limited to,

                  authorizing Movant to exercise its state law remedies, specifically to continue the
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            Dispossessory against Debtor and all other occupants of the Property and remove

            all personal property and personal effects therefrom and to seek a monetary

            judgment for any post-petition amounts due under the Lease to the extent

            permitted by law and by this Court;

     (B)    That the Lease be deemed rejected;

     (C)    The Court award Movant reasonable attorney’s fees and costs for bringing the

            instant motion;

     (D)    The Court waive the 14-day stay of Bankruptcy Rule 4001(a)(3); and

     (E)    For such other and further relief as the Court deems just and equitable.

     Dated: April 27, 2022.

                                                  Respectfully Submitted,

                                                  /s/ Mechelle Montgomery-Bumpers
                                                  Mechelle Montgomery-Bumpers
                                                  Georgia Bar No. 228572

                                                  Counsel for Movant

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                                  NOTICE OF HEARING

       PLEASE TAKE NOTICE that VSP Atlanta LLC, Movant herein, has filed a Motion for

Relief from Automatic Stay, dated April 27, 2022, and related papers with the Court seeking an

order modifying the automatic stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion

in Courtroom 1203, Richard B. Russell Federal Building and U.S. Courthouse, 75 Ted

Turner Drive, SW, Atlanta, Georgia 30303, at 10:00 a.m. on May 12, 2022. “The calendar

calls will be in the courtroom and on Judge Cavender’s Virtual Hearing Room. Please check the

Judge’s website under the “Hearing Information” tab for more information.

       Your rights may be affected by the Court’s ruling on these pleadings. You should read the
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pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.

(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant

the relief sought in these pleadings or if you want the court to consider your views, then you and/or

your attorney must attend the hearing. You may also file a written response to the pleading with

the Clerk at the address stated below, but you are not required to do so. If you filed a written

response, you must attach a certificate stating when, how and on whom (including addresses) you

served the response. Mail or deliver your response so that the Clerk receives it at least two (2)

business days before the hearing. The address of the Clerk’s office is: Clerk, United States

Bankruptcy Court, Room 1203, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You

must also mail a copy of your response to the undersigned at the address stated below.

       If a hearing on the Motion for Relief from Automatic Stay cannot be held within thirty (30)

days, Movants waive the requirement for holding a preliminary hearing within thirty (30) days of

filing the motion and agrees to a hearing on the earliest possible date. If the Court cannot render

a final decision within sixty (60) days of the date of the request, Movants waive the requirement

that a final decision be issued within that period.

         Dated: April 27, 2022
                                                      Respectfully Submitted,

                                                      /s/ Mechelle Montgomery-Bumpers
                                                      Mechelle Montgomery-Bumpers
                                                      Georgia Bar No. 228572
 Goggans, Stutzman, Hudson,
 Wilson & Mize, LLP                                   Counsel for Movant
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 S. GREGORY HAYS,
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                                CERTIFICATE OF SERVICE

       This is to certify that I have served a copy of Movant’s MOTION FOR RELIEF FROM

AUTOMATIC STAY and AMENDED NOTICE OF HEARING electronically or by

depositing same in the United States First Mail in a properly addressed envelope to each with

adequate postage thereon as follows:

 MARK AARON RICH                               CRAIG ZANDER BLACK
 1030 Millridge Lane                           The Craig Black Law Firm, LLC
 Marietta, GA 30067                            5555 Glenridge Connector NE
                                               Suite 200
                                               Atlanta, GA 30342
 Office of the United States Trustee
 362 Richard Russell Building                  S. GREGORY HAYS
 75 Ted Turner Drive, SW                       Hays Financial Consulting, LLC
 Atlanta, GA 30303                             2964 Peachtree Road, Suite 555
                                               Atlanta, GA 30305
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     Dated: April 27, 2022

                                             Respectfully Submitted,

                                             /s/ Mechelle Montgomery-Bumpers
                                             Mechelle Montgomery-Bumpers
                                             Georgia Bar No. 228572

                                             Counsel for Movant

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                                      DISTRIBUTION LIST

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